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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-2354V



 KATHLEEN M. WISE,                                           Chief Special Master Corcoran

                         Petitioner,                         Filed: August 5, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


William E. Cochran, Jr., Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN , for
       Petitioner.

Mary Eileen Holmes, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION ON JOINT STIPULATION1

       On December 30, 2021, Kathleen M. Wise filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleged that she suffered Guillain-Barré Syndrome (“GBS”), a
defined Table or causation-in-fact injury, after receiving an influenza (“flu”) vaccine on
December 20, 2020. Petition at 1, ¶¶ 2, 18; Stipulation, filed Aug. 5, 2024, at ¶¶ 1-2,4.
Petitioner also alleged that she received the flu vaccine within the United States, that she
continued to suffer the residual effects of her GBS more than six months post-vaccination,
and that neither she nor any other party has filed a civil action or received compensation
for her GBS. Id. at ¶¶ 2, 16-17; Stipulation at ¶¶ 3-5. “Respondent denies that [P]etitioner
sustained a GBS Table injury; denies that the flu vaccine caused [P]etitioner’s alleged
GBS and/or CIDP, or any other injury; and denies that her current condition is a sequela
of a vaccine-related injury.” Stipulation at ¶ 6.
1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Nevertheless, on August 5, 2024, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $50,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 KATHLEEN M. WISE,

                 Petitioner,                             No. 21-2354V
                                                         Chief Special Master Corcoran
 v.                                                      ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                                          STIPULATION

       The parties hereby stipulate to the following matters:

       1. Kathleen Wise (“petitioner”) filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the “Vaccine

Program”). The petition seeks compensation for injuries allegedly related to petitioner’s receipt

of an influenza (“flu”) vaccine, which vaccine is contained in the Vaccine Injury Table (the

“Table”), 42 C.F.R. § 100.3(a)

       2. Petitioner received a flu vaccine on December 20, 2020.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that petitioner suffered either Guillain-Barré syndrome (“GBS”)

and/or chronic inflammatory demyelinating polyneuropathy (“CIDP”) that was caused-in-fact by

the flu vaccine. Petitioner further alleges that petitioner suffered the residual effects of the

alleged injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on petitioner’s behalf as a result of the alleged injury.
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        6. Respondent denies that petitioner sustained a GBS Table injury; denies that the flu

vaccine caused petitioner’s alleged GBS and/or CIDP, or any other injury; and denies that her

current condition is a sequela of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $50,000.00 in the form of a check payable to petitioner, Kathleen
        M. Wise. This amount represents compensation for all damages that would be
        available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys’ fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and petitioner’s attorney represent that compensation to be provided

pursuant to this Stipulation is not for any items or services for which the Program is not

primarily liable under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can

reasonably be expected to be made under any State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.




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        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney’s fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in petitioner’s

individual capacity, and on behalf of petitioner’s heirs, executors, administrators, successors or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccination administered on

December 20, 2020, as alleged in a petition for vaccine compensation filed on or about

December 30, 2021, in the United States Court of Federal Claims as petition No. 21-3354V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner’s alleged injury or

any other injury or petitioner’s current disabilities.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,




ATTORNEY OF RECORD FOR                                         AUTHORIZED REPRESENTATIVE
PETITIONER:                                                    OF THE ATTORNEY GENERAL:



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Black McLaren, et al., PC
                                                               ~    ~'tl:~
                                                               HEATHER L. PEARLMAN
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                                                               Benjamin Franklin Station
                                                               Washington, DC 20044-0146


AUTHORJZED REPRESENTATIVE                                      ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                                     RESPONDENT:
AND HUMAN SERVICES:
Jeffrey s.            ~i:'~~   signed by Jeffreys.

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                      Date:2024.07.2316:52:06
                      -04'00'                        for
CAPT GEORGE REED GRIMES, MD, MPH                               ~              LMES
Director, Division oflnjury                                    Trial Attorney
 Compensation Programs                                         Torts Branch
Health Systems Bureau                                          Civil Division
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             _Av
Dated: ..........__,_ _____ _ _




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